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 10
 11                         UNITED STATES DISTRICT COURT
 12                        CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
 13
 14   PAN DIGITAL NETWORK LIMITED,            Case No. 2:23−cv−00584 SPG
 15   a United Kingdom limited company,       (MAAx)

 16                Plaintiff,
 17                                           PLAINTIFF’S RESPONSE TO (IN
            v.                                CHAMBERS) ORDER TO SHOW
 18                                           CAUSE RE: DISMISSAL FOR
 19   2069913 ONTARIO LIMITED, an             LACK OF PROSECUTION [D.E.
      Ontario, Canada business                NO. 17]
 20   corporation, CHRISTOPHER
 21   FAGON, an individual, ANDREW
      BURROWS-TROTMAN, an
 22   individual, CRISTAUDO HOLDINGS
 23   LLC, a New York limited liability
      company, FRANK CRISTAUDO, an
 24   individual, and JOHN DOES 1-10,
 25
                   Defendants.
 26
 27
 28
      Case No. 2:23−cv−00584 SPG (MAAx)          PLAINTIFF’S RESPONSE TO OSC RE.
                                                 DISMISSAL
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  1         Plaintiff Pan Digital Network Limited (“Plaintiff”), through its attorneys,
  2   hereby responds to the (In Chambers) Order to Show Cause re: Dismissal for
  3   Lack of Prosecution [D.E. No.17] (“OSC”) issued by the Court on May 1, 2023.
  4         Service of Summons and Complaint. In the OSC, the Court stated that
  5   Plaintiff had not filed a proof of service within 90 days of the filing of the
  6   Complaint on the following Defendants: 2069913 Ontario Limited, Christopher
  7   Fagon, and Andrew Burrows-Trotman. The Court further states, “Plaintiff(s)
  8   can satisfy this order by showing that service was effectuated within the 90-
  9   day deadline or by showing good cause for the failure to do so. Fed. R. Civ.
 10   P. 4(m).”
 11         On May 16, 2023, Plaintiff filed proofs and waivers of service for
 12   Defendants 2069913 Ontario Limited, Christopher Fagon, and Andrew
 13   Burrows-Trotman. [D.E. Nos. 19, 20, and 21.] While Plaintiff expected to
 14   dismiss its claims against these Defendants pursuant to a settlement
 15   agreement between Plaintiff and third-party Maxwell Morgan (attached hereto
 16   as Exhibit A), Mr. Morgan has breached the settlement agreement by failing
 17   to make any of the required payments. As such, Plaintiff requests that the
 18   Court set a deadline for Defendants 2069913 Ontario Limited, Christopher
 19   Fagon, and Andrew Burrows-Trotman to respond to the Complaint consistent
 20   with the methods of service.
 21         Default Judgment. The OSC stated that Plaintiff obtained entry of
 22   default as to Defendants Cristaudo Holdings, LLC and Frank Cristaudo, but
 23   had not filed a motion for default judgment. [D.E. No. 17.] On May 15, 2023,
 24   Plaintiff filed its motion for default judgment against Cristaudo Holdings, LLC
 25   and Frank Cristaudo. [D.E. No. 18.]
 26         Because Plaintiff has complied with the Court’s OSC and is prosecuting
 27   this action, Plaintiff requests that the Court discharge the OSC.
 28   //
      Case No. 2:23−cv−00584 SPG (MAAx)             PLAINTIFF’S RESPONSE TO OSC RE.
                                            1       DISMISSAL
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  1   Respectfully Submitted,
  2 DATED: May 16, 2023                   KRONENBERGER ROSENFELD, LLP
  3
  4                                       By:       s/ Karl S. Kronenberger
  5                                                    Karl S. Kronenberger

  6                                       Attorneys for Plaintiff Pan Digital
  7                                       Network Limited

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      Case No. 2:23−cv−00584 SPG (MAAx)            PLAINTIFF’S RESPONSE TO OSC RE.
                                            2      DISMISSAL
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                             Exhibit A

                                       3
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                                   PAYMENT AGREEMENT

         This Payment                 Agreement                                   between Pan
                             PDNL      a United Kingdom Company, on the one hand, and Maxwell
                  Morgan                          other hand (collectively, Parties
  individually    Party
   Effective Date

                                            RECITALS

         WHEREAS, PDNL filed a lawsuit against multiple defendants on January 25, 2023, in the
  United States District Court for the Central District of California, entitled Pan Digital Network
  Limited v. 2069913 Ontario Limited, et al., Case No. 2:23cv-00584-SPG-MAA, and alleging
  claims for:

             Violation of the Racketeer Influenced and Corrupt Organizations Act
             U.S.C. §§1961, et seq.;
             Fraudulent Inducement, Conspiracy to Commit Fraudulent Inducement, and Aiding
             and Abetting Fraudulent Inducement;
             Fraud, Conspiracy to Commit Fraud, & Aiding and Abetting Fraud;
             Conversion, Conspiracy to Commit Conversion, & Aiding and Abetting Conversion;
             Breach of Contract;
             Intentional Interference with Contractual Relations, Aiding and Abetting Intentional
             Interference with Contractual Relations, & Conspiracy to Interfere with Contractual
             Relations;
             Violation of California Penal Code §496, Aiding and Abetting Violations of California
             Penal Code §496, & Conspiracy to Violate California Penal Code §496;
             Money Had and Received; and
             False Advertising Under the Lanham Act, 15 U.S.C. §1125(a)

        Action

         WHEREAS, as of the Effective Date, the Action names the following defendants:

             2069913 Ontario Limited;
             Christopher F        Fagon
             Andrew Burrows-            Burrows-Trotman ;
             Cristaudo Holdings LLC;
             Frank Cristaudo; and
             John Does 1-10.

          NOW, THEREFORE, in consideration of the mutual covenants and promises contained
  herein and other good and valuable consideration, the receipt and sufficiency of which are hereby
  acknowledged by each of the Parties, the Parties hereto agree as follows:


                                                 1

                                                 4
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                                                TERMS

         1.      Payment.

                (a)   Payment. Morgan shall make a total payment of one million one-hundred
  twenty seven thousand eight hundred eighty-nine dollars and ninety-one cents U.S. Dollars
  ($1,127,889.91 USD) Total Payment Amount to PDNL according to the following payment
  schedule:

              One Hundred Thousand U.S. Dollars ($150,000 USD) by March 24, 2023.
              One Hundred Thousand U.S. Dollars ($200,000 USD) by March 31, 2023.
              Three Hundred Thousand U.S. Dollars ($150,000 USD) by April 14, 2023.
              Three Hundred Thousand U.S. Dollars ($250,000 USD) by April 28, 2023.
              Three Hundred Thousand U.S. Dollars ($250,000 USD) by May 12, 2023.
              Three Hundred Thousand U.S. Dollars ($127,899.91USD) on May 31, 2023.

              Installment Payment

                 (b)   Morgan shall make each Installment Payment by wire transfer or
                                                  to the IOLTA attorney trust account of
  Kronenberger Rosenfeld, LLP. Morgan shall use the below information for the payee for each
  Installment Payment:

                 Bank Name/Address:
                 Heritage Bank of Commerce
                 150 Almaden Blvd
                 San Jose, CA 95113
                 Bank ABA/Routing #:
                 Account #
                 SWIFT:

  An Installment Payment shall be considered to have been made as of the date that Morgan initiates
  a same-day electronic wire transfer with Morgan financial institution.

           2.      Dismissal of Action. Within seven (7) calendar days after             complete and
  timely payment of the Total Payment Amount, PDNL, Fagon, and Burrows-Trotman shall cause
  to be filed with the court, a stipulation of dismissal of Fagon and Burrows-Trotman from the Action
  pursuant to Federal Rule of Civil Procedure 41, with each Party to bear their own costs and
                  . For clarification, as long as payments are made in accordance with the payment
  schedule in paragraph one (1) above, PDNL will enter a settlement agreement releasing all named
  defendants in the Action.

         3.      No Third-Party Beneficiaries. Except as specifically set forth in this Agreement,
  this Agreement is intended solely for the benefit of the Parties hereto and their respective permitted
  successors and assigns, and it is not for the benefit of, nor may any provision hereof be enforced
  by, any other person.

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          4.      Governing Law and Venue. This Agreement, in all respects, shall be interpreted,
  enforced, and governed by and under the laws of the State of California and the United States. The
  Parties agree that all disputes among them arising out of or related to this Agreement, including
  claims of breach of this Agreement, shall be resolved exclusively by state or federal courts located
  in California, and the Parties waive any objection that they may have to the location of the court
  considering the dispute, including but not limited to objections on the grounds of subject matter
  jurisdiction or personal jurisdiction.

         5.     Successors and Assigns. It is expressly understood and agreed by the Parties that
  this Agreement and all of its terms shall be bind
  executors, administrators, successors, and assigns.

          6.     Drafting. The Parties agree that this Agreement shall be construed without regard
  to the drafter of the same and shall be construed as though each party to this Agreement
  participated equally in the preparation and drafting of this Agreement.

          7.      Attorney Fees. In the event that any Party asserts a claim for breach of this
  Agreement or seeks to enforce its terms, the prevailing Party in any such proceeding shall be
  entitled to recover her costs and reasonable attorney fees.

          8.      Execution of Additional Documents. The Parties agree to execute such other,
  further, and different documents as reasonably may be required to effectuate this Agreement.

         9.       Consultation with Counsel. The Parties and each of them acknowledge that they
  have had the opportunity to consult with legal counsel of their choice prior to execution and
  delivery of this Agreement, and that they have in fact done so. The Parties acknowledge that they
  have been specifically advised by counsel of the consequences of the Agreement they have signed.
  The Parties understand and agree that they may be waiving significant legal rights by signing this
  Agreement, and they represent that they have entered into this Agreement voluntarily, after
  consulting with counsel, with a full understanding of and in agreement with all of its terms.

         10.     Headings. The headings in each paragraph herein are for convenience of reference
  only and shall be of no legal effect in the interpretation of the terms hereof.

         11.     Full Integration. This Agreement constitutes a single, integrated, written contract,
  and constitutes the full, complete, and exclusive agreement between PDNL, on the one hand, and
  Morgan, on the other, regarding all of the subjects covered by this Agreement. The Parties
  represent and warrant that they are not relying on any promises or representations that are not
  expressly stated in this Agreement.

        12.    Modification. The Parties understand and agree that this Agreement can be
  amended or modified only by a written agreement, signed by all of the Parties hereto.

         13.     Severability. If any provision in this Agreement is found to be unenforceable, it
  shall not affect the enforceability of the remaining provisions and the court shall enforce the
  remaining provisions to the extent permitted by law.

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         14.    Counterparts. This Agreement may be executed in separate counterparts and each
  such counterpart shall be deemed an original with the same effect as if all Parties had signed the
  same document.

         15.     PDF Signature. PDF signatures on this Agreement shall be treated as original
  signatures.

           IN WITNESS WHEREOF, the Parties hereby acknowledge their agreement and consent
  to the terms and conditions set forth above through their respective signatures contained below.



  DATED:                                              By:
                                                            Pan Digital Network Limited


  DATED:                                              By:
                                                               Maxwell Dean Morgan




                                                  4

                                                 7
